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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6    WESLEY S. RANDOLPH,                                  Case No. 16-cv-03760-SK
                                                         Plaintiff,
                                   7
                                                                                             AMENDED ORDER DENYING
                                                  v.                                         APPLICATION TO PROCEED IN
                                   8
                                                                                             FORMA PAUPERIS
                                   9    ROBERT HALF TECHNOLOGY
                                        EMPLOYMENT AGENCY,                                   Re: Dkt. No. 2
                                  10                     Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             Before the Court is an application to proceed in forma pauperis. In light of Plaintiff’s

                                  14   income, Plaintiff’s application to proceed in forma pauperis is DENIED. Plaintiff must pay the

                                  15   $400.00 filing fee no later than July 20, 2016. Failure to pay the filing fee by that date will result

                                  16   in dismissal of the above-entitled action without prejudice. Plaintiff is hereby apprised of his/her

                                  17   responsibility to serve the complaint and any amendments, scheduling orders, and attachments

                                  18   pursuant to Federal Rule of Civil Procedure 4. Plaintiff has a continuing obligation to keep the

                                  19   Court informed of his or her current address. Failure to do so may result in dismissal of this

                                  20   action.

                                  21             IT IS SO ORDERED.

                                  22   Dated: July 18, 2016

                                  23                                                      ______________________________________
                                                                                          SALLIE KIM
                                  24                                                      United States Magistrate Judge
                                  25

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                                            Case 3:16-cv-03760-SK Document 6 Filed 07/18/16 Page 2 of 2




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        WESLEY S. RANDOLPH,
                                   7                                                          Case No. 16-cv-03760-SK
                                                       Plaintiff,
                                   8
                                                v.                                            CERTIFICATE OF SERVICE
                                   9
                                        ROBERT HALF TECHNOLOGY
                                  10    EMPLOYMENT AGENCY,
                                  11                   Defendant.

                                  12
Northern District of California




                                              I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.
 United States District Court




                                  13
                                       District Court, Northern District of California.
                                  14
                                              That on July 18, 2016, I SERVED a true and correct copy(ies) of the attached, by placing
                                  15
                                       said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                  16
                                       depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
                                  17
                                       receptacle located in the Clerk's office.
                                  18
                                  19   Wesley S. Randolph
                                       P.O. Box 27545
                                  20   Oakland, CA 94602-1502
                                  21

                                  22
                                       Dated: July 18, 2016
                                  23

                                  24                                                      Susan Y. Soong
                                                                                          Clerk, United States District Court
                                  25

                                  26                                                      By:________________________
                                                                                          Melinda K. Lozenski, Deputy Clerk to the
                                  27
                                                                                          Honorable SALLIE KIM
                                  28
                                                                                          2
